Case: 0:22-cv-00114-KKC Doc #:12 Filed: 03/13/24 Page: 1of1- Page ID#: 238

{ i i ge . : A. Signature |
fl Print y your name ‘and address onthe reverse x yxy ‘\ Clagent |

so that we can return the card to you. OL 4 oO ads
ff Attach this card to the back of the mailpiece, B. Raceived by (Printect Name} Date of Delivery

or on the front if space permits.

1. Article Addressed to: . oe D, Is delivery address different fram item 1? [11 Yes |
H YES, enter delivery address defow: (J No i
i

_ Eastern Kentucky: Correctional Complex
Attn. Jennifer Blanton

200 Road to Justice - .
West Liberty, KY 41472 ef |

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